                                                         Case 8:15-cv-02034-JVS-JCG Document 1066 Filed 11/04/20 Page 1 of 3 Page ID
                                                                                         #:72126


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                                                           8

                                                           9                       UNITED STATES DISTRICT COURT
                                                          10                     CENTRAL DISTRICT OF CALIFORNIA
                                                          11                                  SOUTHERN DIVISION
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                          12   NATURAL IMMUNOGENICS                  CASE NO. 8:15-cv-02034-JVS-JCG
                       A PROFESSIONAL LAW CORPORATION
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                                                               CORP., a Florida corporation,         JAMS NO. 1220055347
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                                                                                 Plaintiff,          DEFENDANTS’ RESPONSE TO
                                                          14                                         SPECIAL MASTER’S OCTOBER 30,
                                                                     v.                              2020 REQUEST FOR
                                                          15                                         CLARIFICATION
                                                               NEWPORT TRIAL GROUP, et al.,
                                                          16
                                                                                 Defendants.         Judge: Hon. James V. Selna
                                                          17                                         Special Master: Hon. Andrew J. Guilford
                                                                                                     (Ret.)
                                                          18   AND ALL RELATED ACTIONS
                                                                                                     Complaint Filed: December 7, 2015
                                                          19                                         Trial Date:      March 23, 2021
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                                                                  DEFENDANTS’ RESPONSE TO SPECIAL MASTER’S OCTOBER 30, 2020 REQUEST
                                                                                          FOR CLARIFICATION
                                                         Case 8:15-cv-02034-JVS-JCG Document 1066 Filed 11/04/20 Page 2 of 3 Page ID
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                                                           1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
                                                           2   RECORD:
                                                           3         PLEASE TAKE NOTICE that, pursuant to the request of the Special Master
                                                           4   on October 30, 2020, Defendants Newport Trial Group, Scott Ferrell and David
                                                           5   Reid (“Defendants”) submit this statement to the Special Master to clarify their
                                                           6   position regarding the list of documents identified by Plaintiff Natural
                                                           7   Immunogenics Corp. (“NIC’) at Docket 823-2.
                                                           8         NIC submitted Docket 823-2, which NIC describes as “all Strataluz
                                                           9   documents withheld only on the basis of attorney-client privilege.” (Dkt. 823-2 at
                                                          10   1.) In this same filing, NIC also stated that these documents are “all subject to
                                                          11   production pursuant to the Court’s Order Dkt. No. 820.” Defendants disagree.
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                          12         The Court’s Order in Docket 820 stated that Strataluz could not assert the
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                                                          13   attorney-client privilege because it had been dissolved and therefore ordered NIC to
                                                          14   produce “a list of documents which are now subject to production in light of this
                                                          15   holding.” (Dkt. 820 at 25.) However, in this same Order, the Court went on to
                                                          16   conduct two (2) different analyses as to whether Scott Ferrell and Dave Reid could
                                                          17   assert the attorney-client privilege despite Strataluz’s dissolution. (Id. at 25-28.)
                                                          18   After doing so, the Court concluded that “NTG has shown that Strataluz’s attorney-
                                                          19   client privilege extends [to] Ferrell and Reid as [Strataluz’s] managers or agents,
                                                          20   and as its counsel.” (Id. at 28.)
                                                          21         Accordingly, Defendants respectfully submit that the documents listed in
                                                          22   Docket 823-2, which have not been subject to an order specifically compelling their
                                                          23   production, are properly withheld on the basis of attorney-client privilege based on
                                                          24   the Court’s Order in Docket 820 confirming that Scott Ferrell and Dave Reid can
                                                          25   assert attorney client privilege “as [Strataluz’s] managers or agents, and as its
                                                          26   counsel.” (Id.)
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                                                                  DEFENDANTS’ RESPONSE TO SPECIAL MASTER’S OCTOBER 30, 2020 REQUEST
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                                                         Case 8:15-cv-02034-JVS-JCG Document 1066 Filed 11/04/20 Page 3 of 3 Page ID
                                                                                         #:72128


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                                                               Dated: November 4, 2020         CALLAHAN & BLAINE, APLC
                                                           2

                                                           3                                   By:     /s/ David J. Darnell
                                                                                                     Edward Susolik
                                                           4                                         David J. Darnell
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                                                           5                                         Attorneys for Defendants NEWPORT
                                                                                                     TRIAL GROUP and SCOTT J.
                                                           6                                         FERRELL
                                                           7

                                                           8
                                                               Dated: November 4, 2020         BREMER WHYTE BROWN & O’MEARA
                                                           9                                   LLP
                                                          10                                   By:    /s/ Kyle A. Riddles
                                                                                                     Kyle A. Riddles
                                                          11                                         Attorney for Defendant DAVID REID
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                                                                 DEFENDANTS’ RESPONSE TO SPECIAL MASTER’S OCTOBER 30, 2020 REQUEST
                                                                                         FOR CLARIFICATION
